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  1 BURSOR & FISHER, P.A.
      L. Timothy Fisher (State Bar No. 191626)
  2 Frederick J. Klorczyk III (State Bar. No. 320783)

  3 Neal J. Deckant (State Bar No. 322946)
      1990 North California Blvd., Suite 940
  4 Walnut Creek, CA 94596
      Telephone: (925) 300-4455
  5 Facsimile: (925) 407-2700
    E-Mail: ltfisher@bursor.com
  6
            fklorczyk@bursor.com
  7         ndeckant@bursor.com
  8 Attorneys for Plaintiff

  9

 10                        UNITED STATES DISTRICT COURT

 11                      CENTRAL DISTRICT OF CALIFORNIA

 12
      ALAIN MICHAEL, individually and on         Case No.
 13
      behalf of all others similarly situated,
 14
                         Plaintiff,              CLASS ACTION COMPLAINT
 15

 16         v.
                                                 JURY TRIAL DEMANDED
 17
    CHURCH & DWIGHT CO., INC., CVS
 18 HEALTH CORPORATION, and CVS
    PHARMACY, INC.,
 19

 20                      Defendants.
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      CLASS ACTION COMPLAINT
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 1         Plaintiff Alain Michael (“Plaintiff”) brings this action on behalf of himself and
 2   all others similarly situated against Defendants Church & Dwight Co., Inc. (“Church
 3   & Dwight”), CVS Health Corporation, and CVS Pharmacy, Inc. (together with CVS
 4   Health Corporation, “CVS”) (collectively, “Defendants”). Plaintiff makes the
 5   following allegations pursuant to the investigation of his counsel and based upon
 6   information and belief, except as to the allegations specifically pertaining to himself,
 7   which are based on personal knowledge.
 8                               NATURE OF THE ACTION
 9         1.     This is a class action lawsuit against Church & Dwight and CVS for
10   cheating customers by selling “Complete” multivitamins that promise to provide
11   “Essential” nutrition, under the brand names Vitafusion and L’il Critters. However,
12   these purportedly “Complete” multivitamins fail to contain a number of essential
13   nutrients, including vitamin K, thiamine (vitamin B-1), riboflavin (vitamin B-2),
14   niacin (vitamin B-3), and pantothenic acid (vitamin B-5). Indeed, the U.S. Food and
15   Drug Administration (“FDA”) has previously found that “[t]here are 13 vitamins that
16   the body absolutely needs: vitamins A, C, D, E, K, and the B vitamins (thiamine
17   [(B-1)], riboflavin [(B-2)], niacin [(B-3)], pantothenic acid [(B-5)], biotin [(B-7)],
18   vitamin B-6, vitamin B-12 and folate [(B-9)]).”
19         2.     At issue are the following Vitafusion-brand multivitamins: Vitafusion
20   MultiVites, Vitafusion Men’s, Vitafusion Women’s, Vitafusion Simply Good Men’s,
21   Vitafusion Simply Good Women’s, and Vitafusion Simply Good Prenatal
22   (collectively, the “Vitafusion Multivitamins”). Also at issue are the following L’il
23   Critters-brand multivitamins: L’il Critters Gummy Vites, L’il Critters Twisted
24   Fruits, L’il Critters Organic, L’il Critters Despicable Me, L’il Critters Jurassic Park,
25   and L’il Critters Secret Life of Pets (collectively, the “L’il Critters Multivitamins”).
26   None of these purportedly “Complete” multivitamins contain all “13 vitamins that
27   the body absolutely needs,” per FDA guidance.
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     CLASS ACTION COMPLAINT                                                                   1
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 1         3.     Plaintiff therefore asserts claims on behalf of himself and a nationwide
 2   class of purchasers of Vitafusion Multivitamins and L’il Critters Multivitamins for:
 3   (i) breach of express warranty; (ii) breach of the implied warranty of
 4   merchantability; (iii) unjust enrichment; (iv) violation of California’s Consumers
 5   Legal Remedies Act (“CLRA”), Cal. Civil Code §§ 1750, et seq.; (v) violation of
 6   California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et
 7   seq.; (vi) violation of California’s False Advertising Law (“FAL”), Cal. Bus. & Prof.
 8   Code §§ 17500, et seq.; (vii) fraud; and (viii) negligent misrepresentation.
 9                                      THE PARTIES
10         4.     Plaintiff Alain Michael is a natural person and citizen of the State of
11   California who resides in West Lake Village, California. In January or February of
12   2018, Plaintiff purchased Vitafusion MultiVites at a CVS retail store in West Lake
13   Village, California. Prior to his purchase, Plaintiff reviewed the labeling, packaging,
14   and marketing materials for Vitafusion MultiVites and saw the representations that
15   the product is purportedly a “Complete Multivitamin for Everyday Nutrition,” is an
16   “Essential Multi[vitamin],” and is part of an “Essential Daily Formula.” Plaintiff
17   understood these claims to be representations and warranties by Defendants that
18   Vitafusion Multivitamins contain all the vitamins that the human body absolutely
19   needs. Plaintiff reasonably relied on these representations when he purchased his
20   Vitafusion Multivitamins. However, Plaintiff’s Vitafusion Multivitamins lack
21   certain essential vitamins for complete nutrition, including vitamin K, thiamine
22   (vitamin B-1), and riboflavin (vitamin B-2). Plaintiff relied on these representations
23   and warranties in deciding to purchase Vitafusion Multivitamins, and these
24   representations were part of the basis of the bargain, in that he would not have
25   purchased Vitafusion Multivitamins if he had known that they were not, in fact, a
26   “Complete Multivitamin for Everyday Nutrition,” an “Essential Multi[vitamin],” or
27   part of an “Essential Daily Formula.” Plaintiff also understood that in making the
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     CLASS ACTION COMPLAINT                                                                 2
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 1   sale, the retailer was acting with the knowledge and approval of manufacturer and/or
 2   as the agent of the manufacturer. Plaintiff also understood that his purchase involved
 3   a direct transaction between himself and the manufacturer, because his purchase
 4   came with packaging and other materials prepared by the manufacturer, including
 5   representations and warranties that his Vitafusion Multivitamins were “Complete
 6   Multivitamin[s] for Everyday Nutrition,” an “Essential Multi[vitamin],” and are part
 7   of an “Essential Daily Formula.”
 8         5.     Defendant Church & Dwight Co., Inc. is a Delaware corporation with
 9   its principal place of business at 500 Charles Ewing Blvd., Ewing, NJ 08628.
10   Church & Dwight is a major American manufacturer of household products,
11   including Arm & Hammer baking soda. Church & Dwight has approximately 4,700
12   employees and realized approximately $3.4 billion in revenue in 2015. As part of its
13   operations, Church & Dwight is engaged in the processing, manufacturing,
14   packaging, distribution, and/or sale of Vitafusion and L’il Critters-brand
15   multivitamins.
16         6.     Defendant CVS Health Corporation is a Rhode Island corporation with
17   its principal place of business at One CVS Drive, Woonsocket, RI 02895. CVS
18   Health Corporation is engaged in the processing, packaging, distribution, marketing,
19   and/or sale of Vitafusion and L’il Critters Multivitamins. CVS Health Corporation
20   sells Vitafusion and L’il Critters Multivitamins throughout California and the entire
21   United States.
22         7.     Defendant CVS Pharmacy, Inc. is a Rhode Island corporation with its
23   principal place of business at One CVS Drive, Woonsocket, RI 02895. CVS
24   Pharmacy, Inc. is a subsidiary of Defendant CVS Health Corporation. CVS
25   Pharmacy, Inc. is engaged in the processing, packaging, distribution, marketing,
26   and/or sale of Vitafusion and L’il Critters Multivitamins. CVS Pharmacy, Inc. sells
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     CLASS ACTION COMPLAINT                                                              3
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 1   Vitafusion and L’il Critters Multivitamins throughout California and the entire
 2   United States
 3         8.     Whenever reference is made in this Complaint to any representation,
 4   act, omission, or transaction of Defendants, that allegation shall mean that
 5   Defendants did the act, omission, or transaction through their officers, directors,
 6   employees, agents, and/or representatives while they were acting within the actual or
 7   ostensible scope of their authority.
 8                              JURISDICTION AND VENUE
 9         9.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
10   § 1332(d)(2)(A) because this case is a class action where the aggregate claims of all
11   members of the proposed class are in excess of $5,000,000.00, exclusive of interest
12   and costs, and a least one member of the proposed class is a citizen of a state
13   different from Defendants.
14         10.    This Court has personal jurisdiction over Defendants because they have
15   continuous and systematic contacts with the State of California as to essentially
16   render them “at home” in this State. Moreover, Defendants have purposefully
17   availed themselves of the laws and benefits of doing business in this State, and
18   Plaintiff’s claims arise out of the Defendants’ forum-related activities. Furthermore,
19   a substantial portion of the events giving rise to Plaintiff’s claims occurred in this
20   State, including Plaintiff’s purchase of the Vitafusion Multivitamins at issue.
21         11.    Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this
22   action because a substantial part of the events, omissions, and acts giving rise to the
23   claims herein occurred in this District. Plaintiff resides in this District and purchased
24   the Vitafusion Multivitamins at issue in this District.
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     CLASS ACTION COMPLAINT                                                                   4
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 1                         FACTS COMMON TO ALL CLAIMS
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        A. The FDA Explains That “There Are 13 Vitamins That The Body
 3         Absolutely Needs”
 4         12.    In a February 21, 2009 consumer bulletin entitled Fortify Your
 5   Knowledge About Vitamins, the U.S. Food and Drug Administration notes that:
 6   “Vitamins are essential nutrients that contribute to a healthy life. Although most
 7   people get all the vitamins they need from the foods they eat, millions of people
 8   worldwide take supplemental vitamins as part of their health regimen.”
 9         13.    The FDA further states that: “There are many good reasons to consider
10   taking vitamin supplements, such as over-the-counter multivitamins. According to
11   the American Academy of Family Physicians (AAFP), a doctor may recommend that
12   you take them[] for certain health problems, if you eat a vegetarian or vegan diet,
13   [or] if you are pregnant or breastfeeding.”
14         14.    Additionally, the FDA states that: “The 2005 Dietary Guidelines for
15   Americans advises that nutrient needs be met primarily through consuming foods,
16   with supplementation suggested for certain sensitive populations. These guidelines,
17   published by the Department of Health and Human Services and the U.S.
18   Department of Agriculture (USDA), provide science-based advice to promote health
19   and to reduce risk for chronic diseases through diet and physical activity. They form
20   the basis for federal food, nutrition education, and information programs.”
21         15.    Barbara Schneeman, Ph.D., Director of FDA’s Office of Nutritional
22   Products, Labeling, and Dietary Supplements, says, “[t]he Guidelines emphasize that
23   supplements may be useful when they fill a specific identified nutrient gap that
24   cannot or is not otherwise being met by the individual’s intake of food.”
25         16.    In turn, the FDA warns that “many people consume more calories than
26   they need without taking in recommended amounts of a number of nutrients. The
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     CLASS ACTION COMPLAINT                                                                5
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 1   Guidelines warn that there are numerous nutrients – including vitamins – for which
 2   low dietary intake may be a cause of concern.”
 3         17.    When choosing vitamins, the FDA specifies that “[t]here are 13
 4   vitamins that the body absolutely needs: vitamins A, C, D, E, K, and the B vitamins
 5   (thiamine [(B-1)], riboflavin [(B-2)], niacin [(B-3)], pantothenic acid [(B-5)], biotin
 6   [(B-7)], vitamin B-6, vitamin B-12 and folate [(B-9)]).”
 7
        B. Despite Being Marketed As “Complete” Multivitamins, Vitafusion And
 8         L’il Critter Products Do Not Contain These 13 Essential Vitamins
 9         18.    All of the Vitafusion Multivitamins and L’il Critters Multivitamins at
10   issue are substantially similar. All varieties are manufactured in Washington state.
11   Moreover, the labels of all of the Vitafusion Multivitamins and L’il Critter
12   Multivitamins at issue are substantially similar. Despite the FDA’s clear guidance,
13   numerous Vitafusion and L’il Critter multivitamins fail to contain all 13 essential
14   vitamins. And yet, these products are voluntarily labeled as being “Complete”
15   multivitamins that offer “Essential” daily nutrition. Even worse, none of the product
16   labels expressly state that the products are “incomplete” or otherwise disclose that
17   the products do not contain certain essential vitamins. Indeed, even if a reasonable
18   consumer were to review the Supplement Facts portion on the back of the labels, he
19   or she would not have any reason to know or suspect that the products did not have
20   all of the vitamins the FDA deems to be “essential.”
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     CLASS ACTION COMPLAINT                                                                 6
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 1         19.   For example, Vitafusion MultiVites prominently represents that it is a
 2   “Complete Multivitamin for Everyday Nutrition,” is an “Essential Multi[vitamin],”
 3   and is part of an “Essential Daily Formula.” However, the product fails to contain
 4   vitamin K, thiamine (B-1), and riboflavin (B-2):
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     CLASS ACTION COMPLAINT                                                               7
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 1         20.    Vitafusion Men’s prominently represents that it is a “Complete
 2   Multivitamin.” However, the product fails to contain vitamin K, thiamine (B-1),
 3   riboflavin (B-2), and niacin (B-3):
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     CLASS ACTION COMPLAINT                                                            8
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 1         21.    Vitafusion Women’s prominently represents that it is a “Complete
 2   Multivitamin.” However, the product fails to contain vitamin K, thiamine (B-1), and
 3   riboflavin (B-2):
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     CLASS ACTION COMPLAINT                                                           9
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 1         22.   Vitafusion Simply Good Men’s prominently represents that it is a
 2   “Complete Multivitamin.” However, the product fails to contain vitamin K,
 3   thiamine (B-1), and riboflavin (B-2):
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     CLASS ACTION COMPLAINT                                                         10
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 1         23.   Vitafusion Simply Good Women’s prominently represents that it is a
 2   “Complete Multivitamin.” However, the product fails to contain vitamin K,
 3   thiamine (B-1), and riboflavin (B-2):
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     CLASS ACTION COMPLAINT                                                           11
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 1         24.    Vitafusion Simply Good Prenatal prominently represents that it is an
 2   “Essential Multivitamin.” However, the product fails to contain vitamin K, thiamine
 3   (B-1), riboflavin (B-2), and pantothenic acid (B-5):
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     CLASS ACTION COMPLAINT                                                              12
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 1         25.    L’il Critters Gummy Vites prominently represents that it is a “Complete
 2   Multivitamin.” However, the product fails to contain vitamin K, thiamine (B-1),
 3   riboflavin (B-2), and niacin (B-3):
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     CLASS ACTION COMPLAINT                                                            13
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 1         26.   L’il Critters Twisted Fruits prominently represents that it is a “Complete
 2   Multi.” However, the product fails to contain vitamin K, thiamine (B-1), riboflavin
 3   (B-2), and niacin (B-3):
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     CLASS ACTION COMPLAINT                                                             14
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 1         27.   L’il Critters Organic prominently represents that it is a “Complete
 2   Multi.” However, the product fails to contain vitamin K, thiamine (B-1), riboflavin
 3   (B-2), and niacin (B-3):
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     CLASS ACTION COMPLAINT                                                            15
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 1         28.    L’il Critters Despicable Me prominently represents that it is a
 2   “Complete Multivitamin.” However, the product fails to contain vitamin K,
 3   thiamine (B-1), riboflavin (B-2), and niacin (B-3):
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     CLASS ACTION COMPLAINT                                                         16
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 1         29.    L’il Critters Jurassic Park prominently represents that it is a “Complete
 2   Multivitamin.” However, the product fails to contain vitamin K, thiamine (B-1),
 3   riboflavin (B-2), and niacin (B-3):
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     CLASS ACTION COMPLAINT                                                              17
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 1          30.   L’il Critters Secret Life of Pets prominently represents that it is a
 2   “Complete Multivitamin.” However, the product fails to contain vitamin K,
 3   thiamine (B-1), riboflavin (B-2), and niacin (B-3):
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17                     CLASS REPRESENTATION ALLEGATIONS
18          31.   Plaintiff seeks to represent a class defined as all persons in the United
19   States who purchased Vitafusion Multivitamins and L’il Critters Multivitamins (the
20   “Class”). Excluded from the Class are persons who made such purchase for purpose
21   of resale.
22          32.   Plaintiff also seeks to represent a subclass of all Class members who
23   purchased Vitafusion Multivitamins and L’il Critters Multivitamins in California (the
24   “California Subclass”).
25          33.   Members of the Class and Subclass are so numerous that their
26   individual joinder herein is impracticable. On information and belief, members of
27   the Class and Subclass number in the millions. The precise number of Class
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 1   members and their identities are unknown to Plaintiff at this time but may be
 2   determined through discovery. Class members may be notified of the pendency of
 3   this action by mail and/or publication through the distribution records of Defendants
 4   and third-party retailers and vendors.
 5         34.    Common questions of law and fact exist as to all Class members and
 6   predominate over questions affecting only individual Class members. Common legal
 7   and factual questions include, but are not limited to: whether Defendants warranted
 8   that Vitafusion Multivitamins and L’il Critter Multivitamins are “Complete” and
 9   “Essential” multivitamins; whether Vitafusion Multivitamins and L’il Critter
10   Multivitamins contain the “13 vitamins that the body absolutely needs;” whether
11   Defendants breached these warranties; and whether Defendants committed statutory
12   and common law fraud by doing so.
13         35.    The claims of the named Plaintiff are typical of the claims of the Class
14   in that the named Plaintiff purchased Vitafusion Multivitamins in reliance on the
15   representations and warranties described above and suffered a loss as a result of that
16   purchase.
17         36.    Plaintiff is an adequate representative of the Class and the California
18   Subclass because his interests do not conflict with the interests of the Class members
19   he seeks to represent, he has retained competent counsel experienced in prosecuting
20   class actions, and he intends to prosecute this action vigorously. The interests of
21   Class members will be fairly and adequately protected by Plaintiff and his counsel.
22         37.    The class mechanism is superior to other available means for the fair
23   and efficient adjudication of the claims of Class members. Each individual Class
24   member may lack the resources to undergo the burden and expense of individual
25   prosecution of the complex and extensive litigation necessary to establish
26   Defendants’ liability. Individualized litigation increases the delay and expense to all
27   parties and multiplies the burden on the judicial system presented by the complex
28
     CLASS ACTION COMPLAINT                                                                 19
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 1   legal and factual issues of this case. Individualized litigation also presents a
 2   potential for inconsistent or contradictory judgments. In contrast, the class action
 3   device presents far fewer management difficulties and provides the benefits of single
 4   adjudication, economy of scale, and comprehensive supervision by a single court on
 5   the issue of Defendants’ liability. Class treatment of the liability issues will ensure
 6   that all claims and claimants are before this Court for consistent adjudication of the
 7   liability issues.
 8                                       COUNT I
 9                              (Breach Of Express Warranty)
            38.    Plaintiff hereby incorporates by reference the allegations contained in
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     all preceding paragraphs of this complaint.
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            39.    Plaintiff brings this claim individually and on behalf of the members of
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     the proposed Class and Subclass against Defendants.
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            40.    Defendants, as the designers, manufacturers, marketers, distributors,
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     and/or sellers, expressly warranted that Vitafusion Multivitamins and L’il Critter
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     Multivitamins are “Complete” and “Essential” multivitamins.
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            41.    In fact, Vitafusion Multivitamins and L’il Critter Multivitamins are not
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     fit for such purpose because each of these express warranties are false and
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     misleading. These multivitamins do not contain the “13 vitamins that the body
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     absolutely needs,” per FDA guidance.
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            42.    As a direct and proximate cause of Defendants’ breach of express
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     warranty, Plaintiff and Class members have been injured and harmed because:
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     (a) they would not have purchased the Vitafusion Multivitamins and L’il Critter
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     Multivitamins on the same terms if the true facts were known about the product
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     (b) they paid a price premium for Vitafusion Multivitamins and L’il Critter
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     Multivitamins due to Defendants’ promises and warranties; and (c) the Vitafusion
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     Multivitamins and L’il Critter Multivitamins do not have the characteristics as
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     promised by Defendants.
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 1                                      COUNT II
                     (Breach Of Implied Warranty Of Merchantability)
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           43.    Plaintiff hereby incorporates by reference the allegations contained in
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     all preceding paragraphs of this complaint.
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           44.    Plaintiff brings this claim individually and on behalf of the members of
 5
     the proposed Class and Subclass against Defendants.
 6
           45.    Defendants, as the designers, manufacturers, marketers, distributors,
 7
     and/or sellers, impliedly warranted that the Vitafusion Multivitamins and L’il Critter
 8
     Multivitamins are “Complete” and “Essential” multivitamins.
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           46.    Defendants breached the warranty implied in the contract for the sale of
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     the Vitafusion Multivitamins and L’il Critter Multivitamins because they could not
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     pass without objection in the trade under the contract description, the goods were not
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     of fair average quality within the description, the goods were not fit for the ordinary
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     purposes for which such goods are used, and the goods do not conform to the
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     promises or affirmations of fact made on the label. As a result, Plaintiff and Class
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     members did not receive the goods as impliedly warranted by Defendants to be
16
     merchantable.
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           47.    Plaintiff and Class members purchased the Vitafusion Multivitamins
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     and L’il Critter Multivitamins in reliance upon Defendants’ skill and judgment and
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     the implied warranties of fitness for the purpose.
20
           48.    The Vitafusion Multivitamins and L’il Critter Multivitamins were not
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     altered by Plaintiff or Class members.
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           49.    The Vitafusion Multivitamins and L’il Critter Multivitamins were
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     defective when they left the exclusive control of Defendants.
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           50.    Defendants knew that the Vitafusion Multivitamins and L’il Critter
25
     Multivitamins would be purchased and used without additional testing by Plaintiff
26
     and Class members.
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     CLASS ACTION COMPLAINT                                                                 21
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 1         51.    The Vitafusion Multivitamins and L’il Critter Multivitamins were
 2   defectively designed and unfit for their intended purpose, and Plaintiff and Class
 3   members did not receive the goods as warranted.
 4         52.    As a direct and proximate cause of Defendants’ breach of implied
 5   warranty, Plaintiff and Class members have been injured and harmed because:
 6   (a) they would not have purchased the Vitafusion Multivitamins and L’il Critter
 7   Multivitamins on the same terms if the true facts were known about the product
 8   (b) they paid a price premium for Vitafusion Multivitamins and L’il Critter
 9   Multivitamins due to Defendants’ promises and warranties; and (c) the Vitafusion
10   Multivitamins and L’il Critter Multivitamins do not have the characteristics as
11   promised by Defendants.
12                                       COUNT III
13                                   (Unjust Enrichment)
           53.    Plaintiff hereby incorporates by reference the allegations contained in
14
     all preceding paragraphs of this complaint.
15
           54.    Plaintiff brings this claim individually and on behalf of the members of
16
     the proposed Class and Subclass against Defendants.
17
           55.    Plaintiff and Class members conferred benefits on Defendants by
18
     purchasing the Vitafusion Multivitamins and L’il Critter Multivitamins.
19
           56.    Defendants have been unjustly enriched in retaining the revenues
20
     derived from Plaintiff and Class member’s purchases of the Vitafusion
21
     Multivitamins and L’il Critter Multivitamins. Retention of those moneys under these
22
     circumstances is unjust and inequitable because Defendants misrepresented that the
23
     Vitafusion Multivitamins and L’il Critter Multivitamins are “Complete” and
24
     “Essential” multivitamins. These misrepresentations caused injuries to Plaintiff and
25
     Class members, because they would not have purchased the Vitafusion
26
     Multivitamins and L’il Critter Multivitamins if the true facts were known.
27

28
     CLASS ACTION COMPLAINT                                                               22
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 1         57.      Because Defendants’ retention of the non-gratuitous benefits conferred
 2   on them by Plaintiff and Class members is unjust and inequitable, Defendants must
 3   pay restitution to Plaintiff and Class members for their unjust enrichment, as ordered
 4   by the Court.
 5                                       COUNT IV
 6               (Violation Of California’s Consumers Legal Remedies Act,
                            California Civil Code §§ 1750, et seq.)
 7
           58.      Plaintiff hereby incorporates by reference the allegations contained in
 8
     all preceding paragraphs of this complaint.
 9
           59.      Plaintiff brings this claim individually and on behalf of the members of
10
     the proposed California Subclass against Defendants.
11
           60.      California’s Consumers Legal Remedies Act, Cal. Civ. Code
12
     § 1770(a)(5), prohibits “[r]epresenting that goods or services have sponsorship,
13
     approval, characteristics, ingredients, uses, benefits, or quantities which they do not
14
     have or that a person has a sponsorship, approval, status, affiliation, or connection
15
     which he or she does not have.”
16
           61.      California’s Consumers Legal Remedies Act, Cal. Civ. Code
17
     § 1770(a)(7), prohibits “[r]epresenting that goods or services are of a particular
18
     standard, quality, or grade, or that goods are of a particular style or model, if they are
19
     of another.”
20
           62.      California’s Consumers Legal Remedies Act, Cal. Civ. Code
21
     § 1770(a)(9), prohibits “[a]dvertising goods or services with intent not to sell them as
22
     advertised.”
23
           63.      Defendants violated this provision by misrepresenting that the
24
     Vitafusion Multivitamins and L’il Critter Multivitamins are “Complete” and
25
     “Essential” multivitamins.
26
           64.      Plaintiff and the California Subclass suffered injuries caused by
27
     Defendants because: (a) they would not have purchased the Vitafusion
28
     CLASS ACTION COMPLAINT                                                                  23
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 1   Multivitamins and L’il Critter Multivitamins on the same terms if the true facts were
 2   known about the product (b) they paid a price premium for Vitafusion Multivitamins
 3   and L’il Critter Multivitamins due to Defendants’ promises and warranties; and
 4   (c) the Vitafusion Multivitamins and L’il Critter Multivitamins do not have the
 5   characteristics as promised by Defendants.
 6         65.    On or about April 8, 2019, prior to filing this action, a CLRA notice
 7   letter was mailed to Defendants which complies in all respects with California Civil
 8   Code § 1782(a). Plaintiff sent Church & Dwight and CVS a letter via certified mail,
 9   return receipt requested, advising them that they are in violation of the CLRA and
10   demanding that they cease and desist from such violations and make full restitution
11   by refunding the monies received therefrom. A true and correct copy of Plaintiff’s
12   letter is attached hereto as Exhibit A.
13         66.    Wherefore, Plaintiff seeks injunctive relief for this violation of the
14   CLRA.
15                                      COUNT V
                   (Violation Of California’s Unfair Competition Law,
16               California Business & Professions Code §§ 17200, et seq.)
17         67.    Plaintiff hereby incorporates by reference the allegations contained in
18   all preceding paragraphs of this complaint.
19         68.    Plaintiff brings this claim individually and on behalf of the members of
20   the proposed Class and California Subclass against Defendants.
21         69.    Defendants are subject to California’s Unfair Competition Law, Cal.
22   Bus. & Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair
23   competition shall mean and include unlawful, unfair or fraudulent business practices
24   and unfair, deceptive, untrue or misleading advertising ….”
25         70.    Defendants’ misrepresentations and other conduct, described herein,
26   violated the “unlawful” prong of the UCL by violating the CLRA as described
27   herein; the FAL as described herein; and Cal. Com. Code § 2607.
28
     CLASS ACTION COMPLAINT                                                                24
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 1         71.    Defendants’ misrepresentations and other conduct, described herein,
 2   violated the “unfair” prong of the UCL in that their conduct is substantially injurious
 3   to consumers, offends public policy, and is immoral, unethical, oppressive, and
 4   unscrupulous, as the gravity of the conduct outweighs any alleged benefits.
 5         72.    Defendants violated the “fraudulent” prong of the UCL by making
 6   misrepresentations about the Vitafusion Multivitamins and L’il Critter
 7   Multivitamins, as described herein.
 8         73.    Plaintiff, the Class, and the California Subclass lost money or property
 9   as a result of Defendants’ UCL violations because: (a) they would not have
10   purchased the Vitafusion Multivitamins and L’il Critter Multivitamins on the same
11   terms if the true facts were known about the product (b) they paid a price premium
12   for Vitafusion Multivitamins and L’il Critter Multivitamins due to Defendants’
13   promises and warranties; and (c) the Vitafusion Multivitamins and L’il Critter
14   Multivitamins do not have the characteristics as promised by Defendants.
15                                     COUNT VI
16                  (Violation Of California’s False Advertising Law,
                 California Business & Professions Code §§ 17500, et seq.)
17
           74.    Plaintiff hereby incorporates by reference the allegations contained in
18
     all preceding paragraphs of this complaint.
19
           75.    Plaintiff brings this claim individually and on behalf of the members of
20
     the proposed California Subclass against Defendants.
21
           76.    California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500,
22
     et seq., makes it “unlawful for any person to make or disseminate or cause to be
23
     made or disseminated before the public in this state, … in any advertising device …
24
     or in any other manner or means whatever, including over the Internet, any
25
     statement, concerning … personal property or services, professional or otherwise, or
26
     performance or disposition thereof, which is untrue or misleading and which is
27

28
     CLASS ACTION COMPLAINT                                                              25
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 1   known, or which by the exercise of reasonable care should be known, to be untrue or
 2   misleading.”
 3         77.      Defendants committed acts of false advertising, as defined by §17500,
 4   by misrepresenting that the Vitafusion Multivitamins and L’il Critter Multivitamins
 5   are “Complete” and “Essential” multivitamins.
 6         78.      Defendants knew or should have known, through the exercise of
 7   reasonable care that their representations about the Vitafusion Multivitamins and L’il
 8   Critter Multivitamins were untrue and misleading.
 9         79.      Defendants’ actions in violation of § 17500 were false and misleading
10   such that the general public is and was likely to be deceived.
11         80.      Plaintiff and the California Subclass lost money or property as a result
12   of Defendants’ FAL violations because: (a) they would not have purchased the
13   Vitafusion Multivitamins and L’il Critter Multivitamins on the same terms if the true
14   facts were known about the product; (b) they paid a price premium for Vitafusion
15   Multivitamins and L’il Critter Multivitamins due to Defendants’ promises and
16   warranties; and (c) the Vitafusion Multivitamins and L’il Critter Multivitamins do
17   not have the characteristics as promised by Defendants.
18                                        COUNT VII
19                                (Negligent Misrepresentation)
           81.      Plaintiff hereby incorporates by reference the allegations contained in all
20
     preceding paragraphs of this complaint.
21
           82.      Plaintiff brings this claim individually and on behalf of the members of
22
     the proposed Class and Subclass against Defendants.
23
           83.      As discussed above, Defendants misrepresented that the Vitafusion
24
     Multivitamins and L’il Critter Multivitamins are “Complete” and “Essential”
25
     multivitamins.
26
27

28
     CLASS ACTION COMPLAINT                                                                26
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 1             84.   At the time Defendants made these representations, Defendants knew or
 2   should have known that these representations were false or made them without
 3   knowledge of their truth or veracity.
 4             85.   At an absolute minimum, Defendants negligently misrepresented and/or
 5   negligently omitted material facts about Vitafusion Multivitamins and L’il Critter
 6   Multivitamins.
 7             86.   The negligent misrepresentations and omissions made by Defendants,
 8   upon which Plaintiff and Class members reasonably and justifiably relied, were
 9   intended to induce and actually induced Plaintiff and Class members to purchase
10   Vitafusion Multivitamins and L’il Critter Multivitamins.
11             87.   Plaintiff and Class members would not have purchased Vitafusion
12   Multivitamins and L’il Critter Multivitamins if the true facts had been known.
13             88.   The negligent actions of Defendants caused damage to Plaintiff and
14   Class members, who are entitled to damages and other legal and equitable relief as a
15   result.
16                                          COUNT VIII
                                              (Fraud)
17
               89.   Plaintiff hereby incorporates by reference the allegations contained in
18
     all preceding paragraphs of this complaint.
19
               90.   Plaintiff brings this claim individually and on behalf of the members of
20
     the proposed Class and Subclass against Defendants.
21
               91.   As discussed above, Defendants provided Plaintiff and Class members
22
     with false or misleading material information and failed to disclose material facts
23
     about Vitafusion Multivitamins and L’il Critter Multivitamins being “Complete” and
24
     “Essential” multivitamins. These misrepresentations and omissions were made with
25
     knowledge of their falsehood.
26
               92.   The misrepresentations and omissions made by Defendants, upon which
27
     Plaintiff and Class members reasonably and justifiably relied, were intended to
28
     CLASS ACTION COMPLAINT                                                                27
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 1   induce and actually induced Plaintiff and Class members to purchase Vitafusion
 2   Multivitamins and L’il Critter Multivitamins.
 3          93.    The fraudulent actions of Defendants caused damage to Plaintiff, Class
 4   members, and Subclass members who are entitled to damages and other legal and
 5   equitable relief as a result.
 6                                   RELIEF DEMANDED
 7          WHEREFORE, Plaintiff, individually and on behalf of all others similarly
 8   situated, seeks judgment against Defendants, as follows:
 9                 A.     For an order certifying the nationwide Class and the
10                        Subclass under Rule 23 of the Federal Rules of Civil
                          Procedure and naming Plaintiff as representative of
11                        the Class and Subclass and Plaintiff’s attorneys as
12                        Class Counsel to represent the Class and Subclass
                          members;
13
                   B.     For an order declaring the Defendants’ conduct
14                        violates the statutes referenced herein;
15                 C.     For an order finding in favor of Plaintiff, the Class,
                          and the Subclass on all counts asserted herein;
16
                   D.     For compensatory and punitive damages in amounts
17                        to be determined by the Court and/or jury;
18                 E.     For prejudgment interest on all amounts awarded;
19                 F.     For an order of restitution and all other forms of
20                        equitable monetary relief;
                   G.     For injunctive relief as pleaded or as the Court may
21
                          deem proper;
22
                   H.     For an order awarding Plaintiff and the Class and
23                        Subclass his reasonable attorneys’ fees and expenses
                          and costs of suit;
24
                   I.     Damages, restitution, and/or disgorgement in an
25                        amount to be determined at trial; and
26                 J.     For such other and further relief as the Court may
27                        deem proper.

28
     CLASS ACTION COMPLAINT                                                            28
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 1                                     JURY DEMAND
 2         Plaintiff demands a trial by jury on all causes of action and issues so triable.
 3

 4

 5   Dated: April 8, 2019             Respectfully submitted,
 6
                                      BURSOR & FISHER, P.A.
 7
                                      By:       /s/ Frederick J. Klorczyk III
 8                                                  Frederick J. Klorczyk III
 9                                    L. Timothy Fisher (State Bar No. 191626)
                                      Frederick J. Klorczyk III (State Bar. No. 320783)
10                                    Neal J. Deckant (State Bar No. 322946)
11                                    1990 North California Blvd., Suite 940
                                      Walnut Creek, CA 94596
12                                    Telephone: (925) 300-4455
                                      Facsimile: (925) 407-2700
13                                    E-Mail: ltfisher@bursor.com
                                               fklorczyk@bursor.com
14
                                               ndeckant@bursor.com
15
                                      Attorneys for Plaintiff
16

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     CLASS ACTION COMPLAINT                                                               29
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 1       CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2   I, Frederick J. Klorczyk III, declare as follows:
 3          1.    I am counsel for Plaintiff, and I am a partner at Bursor & Fisher, P.A. I
 4   make this declaration to the best of my knowledge, information, and belief of the
 5   facts stated herein.
 6          2.    The complaint filed in this action is filed in the proper place for trial
 7   because Defendants have continuous and systematic contacts with the State of
 8   California as to essentially render them “at home” in this State. Moreover,
 9   Defendants have purposefully availed themselves of the laws and benefits of doing
10   business in this State, and Plaintiff’s claims arise out of the Defendants’
11   forum-related activities. Furthermore, a substantial portion of the events giving rise
12   to Plaintiff’s claims occurred in this State, including Plaintiff’s purchase of the
13   Vitafusion Multivitamins1 at issue. Plaintiff also resides in this District.
14          3.    Plaintiff alleges that he purchased Vitafusion MultiVites at a CVS retail
15   store in West Lake Village, California in late January or early February of 2018. See
16   Compl. ¶ 4. Prior to his purchase, Plaintiff reviewed the labeling, packaging, and
17   marketing materials for Vitafusion MultiVites and saw the representations that the
18   product is purportedly a “Complete Multivitamin for Everyday Nutrition,” is an
19   “Essential Multi[vitamin],” and is part of an “Essential Daily Formula.” See id.
20   Plaintiff understood these claims to be representations and warranties by Defendants
21   that Vitafusion Multivitamins contain all vitamins that the human body absolutely
22   needs. See id. Plaintiff reasonably relied on these representations when he
23   purchased his Vitafusion Multivitamins. See id. However, Plaintiff’s Vitafusion
24   Multivitamins lack certain essential vitamins for complete nutrition, including
25   vitamin K, thiamine (vitamin B-1), and riboflavin (vitamin B-2). See id.
26
27   1
      As used herein, capitalized terms have the same meaning as in Plaintiff’s
28   Complaint.
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 1         4.      Plaintiff alleges that Defendants’ misrepresentations concerning their
 2   multivitamins played a substantial part, and so had been a substantial factor, in his
 3   decision to purchase Vitafusion Multivitamins, in that “he would not have purchased
 4   Vitafusion Multivitamins if he had known that they were not, in fact, a ‘Complete
 5   Multivitamin for Everyday Nutrition,’ an ‘Essential Multi[vitamin],’ or part of an
 6   ‘Essential Daily Formula.’” See id.
 7         I declare under the penalty of perjury under the laws of the State of California
 8   that the foregoing is true and correct, executed on April 8, 2019 at Walnut Creek,
 9   California.
10

11
                                                           /s/ Frederick J. Klorczyk III
12
                                                               Frederick J. Klorczyk III
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                                                            EXHIBIT A
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 1990 N. CALIFORNIA BLVD.                                            FREDERICK J. KLORCZYK III
 SUITE 940                                                                       Tel: 925.300.4455
 WALNUT CREEK, CA 94596                                                         Fax: 925.407.2700
 www.bursor.com                                                        f k l o r c z yk @ b u r s o r . c o m



                                           April 8, 2019

 Via Certified Mail – Return Receipt Requested

 Church & Dwight Co., Inc.
 500 Charles Ewing Blvd.
 Ewing, NJ 08628

 CVS Health Corporation
 One CVS Drive
 Woonsocket, RI 02895

 CVS Pharmacy, Inc.
 One CVS Drive
 Woonsocket, RI 02895

 Re:    Demand Letter Pursuant to California Civil Code § 1782;
        Violation of U.C.C. §§ 2-313, 2-314; and all other applicable laws

 To Whom It May Concern:

          This letter serves as a preliminary notice and demand for corrective action by Church &
 Dwight Co., Inc., CVS Health Corporation, and CVS Pharmacy, Inc. (collectively, “You”)
 pursuant to numerous provisions of California law, including the Consumers Legal Remedies
 Act, Civil Code § 1770, subsections (a)(5), (7), and (9), on behalf of our client, Alain Michael,
 and all others similarly situated. This letter also serves as notice pursuant to U.C.C.
 § 2-607(3)(A) concerning the breaches of express and implied warranties described herein. This
 letter additionally serves as notice of violations of all applicable consumer protection laws.

          You have participated in the manufacture, marketing, and/or sale of Vitafusion
 MultiVites, Vitafusion Men’s, Vitafusion Women’s, Vitafusion Simply Good Men’s, Vitafusion
 Simply Good Women’s, and Vitafusion Simply Good Prenatal (collectively, the “Vitafusion
 Multivitamins”), as well as L’il Critters Gummy Vites, L’il Critters Twisted Fruits, L’il Critters
 Organic, L’il Critters Despicable Me, L’il Critters Jurassic Park, and L’il Critters Secret Life of
 Pets (collectively, the “L’il Critters Multivitamins”). The Vitafusion Multivitamins and L’il
 Critters Multivitamins have been marketed and sold as being “Complete” multivitamins that
 promise to provide “Essential” nutrition (the “Misrepresentations”). However, these purportedly
 “Complete” multivitamins fail to contain a number of essential nutrients, including vitamin K,
 thiamine (vitamin B-1), riboflavin (vitamin B-2), niacin (vitamin B-3), and pantothenic acid
 (vitamin B-5). Indeed, the U.S. Food and Drug Administration (“FDA”) has previously found
 that “[t]here are 13 vitamins that the body absolutely needs: vitamins A, C, D, E, K, and the B
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                                                                                         PAGE 2


 vitamins (thiamine [(B-1)], riboflavin [(B-2)], niacin [(B-3)], pantothenic acid [(B-5)], biotin
 [(B-7)], vitamin B-6, vitamin B-12 and folate [(B-9)]).” Accordingly, these Misrepresentations,
 made on the Vitafusion Multivitamins and L’il Critters Multivitamin’s labeling and packaging,
 are false and misleading.

        Mr. Michael purchased Vitafusion MultiVites multivitamins in reliance on the
 Misrepresentations. You expressly warranted that Vitafusion MultiVites is purportedly a
 “Complete Multivitamin for Everyday Nutrition,” is an “Essential Multi[vitamin],” and is part of
 an “Essential Daily Formula.” However, the product fails to contain vitamin K, thiamine (B-1),
 and riboflavin (B-2). By misrepresenting that Vitafusion Multivitamins are “Complete” and
 “Essential” multivitamins when, in fact, they are not, You have violated and continue to violate
 provisions of California law, including subsections (a)(5), (7), and (9) of the Consumers Legal
 Remedies Act, Civil Code § 1770. Additionally, by these same acts, You breached an express
 and implied warranty. See U.C.C. § 2-313, § 2-314, § 2-607. Your conduct is also a deceptive
 business practice under all applicable consumer protection laws.

        Mr. Michael is acting on behalf of a class defined as all persons in the United States who
 purchased Vitafusion Multivitamins and L’il Critters Multivitamins. Mr. Michael is also acting
 on behalf of a subclass of persons who purchased Vitafusion Multivitamins and L’il Critters
 Multivitamins in the State of California.

         To cure these defects, we demand that you (1) cease and desist from further sales of
 mislabeled Vitafusion Multivitamins and L’il Critters Multivitamins; (2) issue an immediate
 recall of Vitafusion Multivitamins and L’il Critters Multivitamins; and (3) make full restitution
 to all purchasers of Vitafusion Multivitamins and L’il Critters Multivitamins.

         We also demand that You promptly take all reasonable steps to preserve all documents,
 data, and information, including without limitation, all “Writings,” as defined in California
 Evidence Code § 250 (collectively, “Documents”), and all “Electronically Stored Information,”
 as defined in California Code of Civil Procedure § 2016.020(e), which refer or relate to any of
 the above-described practices, including, but not limited to, the following:

        1.      All documents concerning the design, development, supply, production, and/or
                testing of Vitafusion Multivitamins and L’il Critters Multivitamins;

        2.      All documents concerning the advertisement, marketing, or sale of Vitafusion
                Multivitamins and L’il Critters Multivitamins;

        3.      All documents concerning communications with any retailer involved in the
                marketing or sale of Vitafusion Multivitamins and L’il Critters Multivitamins;

        4.      All documents concerning communications with purchasers Vitafusion
                Multivitamins and L’il Critters Multivitamins;

        5.      All documents concerning communications with federal or state regulators; and
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        6.      All documents concerning the total revenue derived from sales Vitafusion
                Multivitamins and L’il Critters Multivitamins in the United States.

        If You contend that any statement in this letter is inaccurate in any respect, please provide
 us with Your contentions and supporting documents promptly.

       We are willing to negotiate to attempt to resolve the demands asserted in this letter. If
 You wish to enter into such discussions, please contact me right away. If I do not hear from You
 promptly, I will take that as an indication that You are not interested in doing so.


                                                      Very truly yours,




                                                      Frederick J. Klorczyk III
